AO 257 (Rev. 6/78)             Case 3:23-cr-00190-VC Document 1-3 Filed 06/22/23 Page 1 of 1

       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT                INFORMATION                     INDICTMENT                         Name of District Court, and/or Judge/Magistrate Location
                                                                   SUPERSEDING                          NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                                  SAN FRANCISCO DIVISION
 18 U.S.C. § 1343 – Wire Fraud (Count 1);                                 Petty
 26 U.S.C. § 7206(2) – Aiding or Assisting in the Preparation of
 a False or Fraudulent Tax Return (Counts 2-3);                           Minor                DEFENDANT - U.S
 15 U.S.C. §§ 78j(b), 78ff; 17 C.F.R. § 240.10b-5 – Fraud in                                                                                     JUNE 22 2023
 Connection with Purchase and Sale of Securities (Count 4);               Misde-
                                                                                                                                                 Mark B. Busby
 18 U.S.C. § 1348 – Commodities Fraud (Count 5)                           meanor
                                                                                              William Koo ICHIOKA
                                                                          Felony
                                                                                                  DISTRICT COURT NUMBER
PENALTY:       Maximum per count: Count 1 (20 years imprisonment, $250,000
               fine, 3 years supervised release); Counts 2-3 (3 years imprisonment,
               1 year supervised release); Count 4 (20 years imprisonment, $5
               million fine, 3 years supervised release); Count 5 (25 years
               imprisonment, $250,000 fine, 5 years supervised release); $100
               special assessment per count                                                                                 DEFENDANT
                              PROCEEDING                                                             IS NOT IN CUSTODY
                                                                                                      Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                                   1)       If not detained give date any prior
                      Federal Bureau of Investigation
                                                                                                      summons was served on above charges          
       person is awaiting trial in another Federal or State Court,                           2)       Is a Fugitive
       give name of court
                                                                                             3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                     IS IN CUSTODY
                                                                                             4)       On this charge
       this is a reprosecution of

                                                                                                                                       }
       charges previously dismissed                                                          5)       On another conviction
       which were dismissed on motion                                SHOW                                                                         Federal        State


                                                         }
       of:                                                         DOCKET NO.
                                                                                             6)       Awaiting trial on other charges
             U.S. ATTORNEY               DEFENSE
                                                                                                       If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                                }
                                                                                                                      Yes            If "Yes"
       pending case involving this same                                                           Has detainer
                                                                                                                                     give date
       defendant                                                   MAGISTRATE                     been filed?         No             filed


                                                         }
                                                                    CASE NO.
                                                                                                                             Month/Day/Year
       prior proceedings or appearance(s)                                                         DATE OF
                                                                                                  ARREST
                                                                                                                 
       before U.S. Magistrate regarding this
       defendant were recorded under                                                              Or... if Arresting Agency & Warrant were not

                                                                                                  DATE TRANSFERRED                         Month/Day/Year
Name and Office of Person
Furnishing Information on this form              THOMAS A. COLTHURST                              TO U.S. CUSTODY
                                                                                                                                
                                  U.S. Attorney           Other U.S. Agency

Name of Assistant U.S.                                                                                 This report amends AO 257 previously submitted
Attorney (if assigned)                       E. CHENG/B. KINGSLEY
                                                         ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS                 NO PROCESS*                WARRANT                Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                                     * Where defendant previously apprehended on complaint, no new summons or
                                                                                   warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                      Date/Time:                                Before Judge:

        Comments:
